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                               d/b/a T3Leads,
     Grigor Demirchyan, and Marina Demirchyan
14
15
                                 UNITED STATES DISTRICT COURT
16
                               CENTRAL DISTRICT OF CALIFORNIA
17
                                          WESTERN DIVISION
18
     Consumer Financial Protection                  Case No. 2:15-cv-09692-PSG(Ex)
19   Bureau,
                                                    Hon. Philip S. Gutierrez, Courtroom 6A
20                                                  First Street Courthouse
21                         Plaintiff,               ADMINISTRATIVE APPLICATION TO
                                                    CHANGE HEARING DATE ON
22           v.                                     DEFENDANTS’ MOTION
                                                    DEFENDANTS' MOTION TO
                                                                        TO STAY
                                                                           STAY THE
                                                                                THE
                                                    CASE PENDING DISPOSITION OF
23   D and D
           D Marketing,
             Marketing,Inc.,
                         Inc.,cVb/a
                               d/b/a                APPEAL
     T3Leads, Grigor Demirchyan, Marina
24   Demirchyan, et al.,                            Filed Concurrently with Proposed Order
25                                                  Current Hearing
                                                    Current HearingDate:   July17,
                                                                    Date: July  17, 2017
                                                                                    2017
                                                    Current HearingTime:
                                                    Current Hearing Time: 1:30
                                                                           1:30 p.m.
                                                                                p.m.
26                         Defendants.
                                                    Requested Hearing
                                                              Hearing Date:
                                                                      Date: June 26, 2017
27                                                  Requested Hearing Time: 1:30 p.m.
28
            ADMINISTRATIVE APPLICATION TO CHANGE HEARING DATE ON DEFENDANTS'
                                                                  DEFENDANTS’ MOTION TO STAY THE CASE
                                          PENDING DISPOSITION OF APPEAL
     2767809v.1
     Case 2:15-cv-09692-PSG-E Document 91 Filed 05/26/17 Page 2 of 2 Page ID #:631



 1                              ADMINISTRATIVE APPLICATION
 2
                                                     and D
             Through this application, Defendants, D and D Marketing,
                                                           Marketing, Inc.,
                                                                       Inc.,cVb/a
                                                                             d/b/a T3 Leads,
 3
 4   Grigor Demirchyan, and
     Grigor Demirchyan, and Marina
                            Marina Demirchyan
                                   Demirchyan (collectively
                                              (collectively “Defendants”),
                                                            "Defendants"), in the above-
 5   captioned
     captioned action brought by Plaintiff,
               action brought    Plaintiff, Consumer
                                            Consumer Financial
                                                     Financial Protection
                                                               Protection Bureau
                                                                          Bureau (the
                                                                                 (the
 6
     “Bureau”), respectfully
     "Bureau"), respectfully request
                             request this
                                      this Court
                                           Court to
                                                 to modify
                                                    modify the hearing date
                                                           the hearing date on
                                                                            on Defendants'
                                                                               Defendants’
 7
 8   motion to stay the case pending disposition of appeal, from July 17 to June 26, 2017.
 9           Defendants make
             Defendants make this
                              this request
                                   request given
                                           given the
                                                 the breadth
                                                     breadth and
                                                             and scope
                                                                 scope of this litigation
                                                                               litigation as
10
     reflected in
     reflected in the
                  the parties’ Joint Rule
                      parties' Joint Rule 26(f)
                                          26(f) Report
                                                Report filed on April 20, 2017 (D.E. 83); the
11
12   recent developments
     recent developmentsreflected
                         reflectedininDefendants’
                                       Defendants'motion
                                                   motionininsupport
                                                              supportofofaa stay     this
                                                                            stay of this
13   litigation; and this Court’s online hearing
                          Court's online hearing calendar which currently indicates that no date
14
     is available earlier
                  earlier than
                          than July
                               July 17,
                                    17, 2017,
                                        2017, to
                                              to hear
                                                 hear Defendants’ motion.
                                                      Defendants' motion.
15
16           Changing
             Changing the hearing date on
                          hearing date on Defendants’ motion as requested to June 26, 2017,
                                          Defendants' motion
17 will not prejudice the Bureau, as
                                  as Defendants’ motion and this application were both filed
                                     Defendants' motion
18
   and served more than 28 days before June 26 as required by Local Rule 6-1.
19
20   Dated: May
            May 26, 2017                             WILSON, ELSER, MOSKOWITZ,
                                                       EDELMAN & DICKER LLP
21
22
23                                               By _/s/
                                                     /s/ Herbert P.
                                                                 P Kunowski
24                                                       Herbert P. Kunowski

25                                               Attorneys for Defendants,
                                                 D and D Marketing,
                                                         Marketing, Inc.,
                                                                     Inc.,cVb/a
                                                                           d/b/a T3Leads,
26                                               Grigor Demirchyan, and Marina Demirchyan
27
28
                                                    2
            ADMINISTRATIVE APPLICATION TO CHANGE HEARING DATE ON DEFENDANTS'
                                                                  DEFENDANTS’ MOTION TO STAY THE CASE
                                          PENDING DISPOSITION OF APPEAL
     2767809v.1
